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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:06CR207
                              )
          v.                  )
                              )
AARON MIRANDA-QUIROZ,         )                      ORDER
                              )
               Defendant.     )
______________________________)


          IT IS ORDERED that sentencing in this matter is

rescheduled for:

                Monday, October 30, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 23rd day of October, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
